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 1                                                                                Judge Robert Bryan
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 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT TACOMA
 9

10
      UNITED STATES OF AMERICA,        )
11
                                       )                  NO. CR10-5001 RJB
                            Plaintiff, )
12
                                       )
                   v.                  )                  ORDER TO SEAL
13
                                       )
      ERNESTO M. SALDANA,              )
14
                                       )
                         Respondent. )
15

16          Based upon the motion of the United States, and the representations made therein, it is
17   HEREBY ORDERED that
18          The Government’s Sentencing Memorandum in this matter be FILED UNDER SEAL to
19   protect the safety of all those involved in the investigation and prosecution of the case.
20          IT IS SO ORDERED.
21          DATED this 1st day of October, 2010.



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                                                   Robert J Bryan
                                                   United States District Judge
25   Presented by:

26   s/Michael Dion
27
     MICHAEL DION
     Assistant United States Attorney
28


                                                                                    UNITED STATES ATTORNEY
                                                                                     700 Stewart Street, Suite 5220
     ORDER TO SEAL - 1                                                              Seattle, Washington 98101-1271
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